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    9
   10
                          IN THE UNITED STATES DISTRICT COURT
   11
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
   12
   13
   14
        ELECTION INTEGRITY PROJECT                2:21-cv-00032
   15   CALIFORNIA, INC, et al.,
                                                  MEMORANDUM OF POINTS
   16                                 Plaintiffs, AND AUTHORITIES IN SUPPORT
                                                  OF STATE DEFENDANTS’
   17               v.                            MOTION TO DISMISS THE FIRST
                                                  AMENDED COMPLAINT
   18
        SHIRLEY WEBER, California Secretary Date: May 14, 2021
   19   of State, et al.,                   Time: 10:00 A.M.
                                            Courtroom: 7B
   20                                       Judge: The Hon. André Birotte Jr.
                                Defendants. Action Filed: January 4, 2021
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    1                                     INTRODUCTION
    2        Notwithstanding Plaintiffs’ belated attempt to disavow their frivolous effort to
    3   overturn the 2020 election, this action remains the latest in a line of similar—and
    4   similarly reckless—lawsuits peddling conspiracy theories that seek to undermine
    5   public confidence in the integrity of our elections. Like its counterparts, which
    6   have been rejected by court after court across the country, this case should be
    7   dismissed without leave to amend.
    8        Plaintiffs are thirteen congressional candidates who lost in the 2020 general
    9   election, and the nonprofit Election Integrity Project California, Inc. (“EIPCa”).
   10   They raise their claims against three state officials, named in their official
   11   capacities—Secretary of State Dr. Shirley Weber, Governor Gavin Newsom, and
   12   Acting Attorney General Matthew Rodriguez (collectively, “State Defendants”)—
   13   and thirteen County Registrars of Voters (collectively, “County Defendants”).
   14   Against both State and County Defendants, Plaintiffs allege injuries under four
   15   provisions of the United States Constitution—the Elections Clause, the Equal
   16   Protection Clause, the Due Process Clause, and the Guarantee Clause. And they
   17   seek sweeping relief, including an audit of the November 2020 election results, the
   18   appointment of special masters to oversee both this audit and the vote counting in
   19   California’s upcoming elections, a declaratory judgment that numerous statutory
   20   and regulatory provisions of California election law are unconstitutional, and a
   21   preservation order covering twenty-four separate categories of electronic and vote-
   22   by-mail (“VBM”) election equipment and materials.
   23        All of Plaintiffs’ claims against the State Defendants fail as a matter of law.
   24   As a threshold matter, Plaintiffs’ claims are not justiciable. First, Plaintiffs do not
   25   have Article III standing for the claims they raise or the relief they seek: Plaintiffs’
   26   alleged injuries are wholly speculative and impermissibly generalized, and they
   27   have failed to establish the requisite causation or redressability components for
   28   standing. Second, even if Plaintiffs’ claims had once been otherwise justiciable,

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    1   several of those claims would since have become moot. Third, Plaintiffs’ claims
    2   under the Guarantee Clause are political questions outside the scope of the federal
    3   courts’ jurisdiction. Even if Plaintiffs’ claims were justiciable, Plaintiffs have failed
    4   to state a claim on the merits—not least because they fail to satisfy the pleadings
    5   standards of Rule 9(b), as required given their allegations of fraud.
    6        Finally, even if Plaintiffs’ complaint were otherwise justiciable and had not
    7   failed to state a claim, Eleventh Amendment sovereign immunity would be
    8   sufficient to bar Plaintiffs’ claims against Governor Newsom.
    9        For these reasons, the Court should dismiss the complaint with prejudice.
   10                                     BACKGROUND
   11   I.   FACTS ALLEGED IN THE FIRST AMENDED COMPLAINT
   12        As mentioned, Plaintiffs are thirteen congressional candidates, each of whom
   13   lost their races in the November 2020 general election, and EIPCa, a California
   14   non-profit organization. See ECF No. 68 (“FAC”) at ¶¶ 22–35.1 Relevant to State
   15   Defendants, Plaintiffs allege that for three decades, California officials and
   16   legislators have made changes to election laws “under the guise of increasing voter
   17   participation,” with the true goal of “allow[ing] widespread fraud and election
   18   interference to proceed unchecked.” FAC at ¶ 58. According to Plaintiffs, this
   19   fraudulent scheme is intentional: Plaintiffs allege that Californians’ right to vote has
   20   been “intentionally eroded” by laws “designed to create an environment in which
   21   elections could be manipulated and eligible voters of all political viewpoints
   22   disenfranchised.” FAC at ¶ 3. However, these changes all constitute reforms
   23   expanding access to voting rights, for instance by implementing a permanent VBM
   24   option, allowing for online voter registration, and enacting a cure process for voters
   25
   26
              1
                 In the FAC, Plaintiffs make numerous references to the alleged nonpartisan
   27   nature of this action. See FAC at ¶¶ 1, 3–5, 20. They note that “defendants include
        both Democrats and Republicans.” FAC at ¶ 5. The FAC fails to mention that all
   28   thirteen individual plaintiffs were Republican congressional candidates who lost
        their races to Democratic candidates.
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 1   whose VBM ballots are flagged for rejection. See FAC at ¶¶ 60–75. Plaintiffs
 2   challenge some, but not all, of these laws. See FAC at 50, ¶ E.
 3         Plaintiffs also challenge as unconstitutional several executive orders and
 4   emergency regulations issued in 2020 by Governor Newsom and former Secretary
 5   of State Alex Padilla. FAC at ¶¶ 76–94. Executive Orders N-64-20 and N-67-20—
 6   which were later superseded by legislation, and which were limited to an election
 7   that has since taken place—required that every registered voter in California be
 8   mailed a VBM ballot for the November 2020 election, and were superseded by
 9   legislation in June 2020 (at which point, the executive orders had no further force or
10   effect). FAC at ¶ 76; Req. for Judicial Notice in Supp. of State Defs.’ Mot. to
11   Dismiss the FAC (“State Defs.’ RJN”) at 1–3, Ex. 1. Former Secretary Padilla
12   issued emergency regulations relating to signature verification, ballot processing,
13   and ballot counting in September 2020. FAC at ¶¶ 79–94; see Cal. Code Regs. tit.
14   2 (“2 CCR”), §§ 20910, 20960-20962, 20980-20985, 20990-20993; State Defs.’
15   RJN at 4–9, Ex. 2.
16         Finally, Plaintiffs also allege differential treatment of voters based upon their
17   county of residence and voting method (in-person versus VBM). FAC at 154–58.
18   II.   PROCEDURAL HISTORY
19         The action was filed on January 4, 2021. See ECF Nos. 1, 21. The Court
20   denied Plaintiffs’ TRO application on January 11, without a hearing, and
21   Defendants filed motions to dismiss on February 12. ECF Nos. 31, 35, 43, 45.
22   Rather than oppose the motion, Plaintiffs filed the now-operative First Amended
23   Complaint on March 8, and a Notice of Errata on March 29. ECF Nos. 68, 81.
24                                   LEGAL STANDARD
25   I.    FEDERAL RULES OF CIVIL PROCEDURE 12(B)(1) AND 12(B)(6)
26         The legal standards applicable to motions under Federal Rules of Civil
27   Procedure 12(b)(1) and 12(b)(6) are well known. In short, Rule 12(b)(1) requires a
28   court to dismiss a claim if it lacks subject-matter jurisdiction, which “defines [a
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 1   court’s] power to hear cases.” Lightfoot v. Cendant Mortgage Corp., 137 S. Ct.
 2   553, 560 (2017). A motion to dismiss under Rule 12(b)(6) tests the legal
 3   sufficiency of the claims in the complaint. See N. Star Int’l v. Ariz. Corp. Comm’n,
 4   720 F.2d 578, 581 (9th Cir. 1983).
 5   II.   FEDERAL RULE OF CIVIL PROCEDURE 9(B)
 6         Federal Rule of Civil Procedure 9(b) requires heightened pleading standards
 7   when a party makes allegations of fraud. See Fed. R. Civ. P. 9(b). In cases where
 8   fraud is not a necessary element of a claim but the plaintiff nevertheless chooses to
 9   allege fraudulent conduct on the part of defendants, the rule still applies. Vess v.
10   Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103 (9th Cir. 2003). In such cases, “the
11   plaintiff may allege a unified course of fraudulent conduct and rely entirely on that
12   course of conduct as the basis of a claim,” in which event “the claim is said to be
13   ‘grounded in fraud’ . . . and the pleading of that claim as a whole must satisfy the
14   particularity requirement of Rule 9(b).” Id. (internal citations omitted). A motion
15   to dismiss such a claim “under Rule 9(b) for failure to plead with particularity is the
16   functional equivalent of a motion to dismiss under Rule 12(b)(6) for failure to state
17   a claim,” as “there is effectively nothing left of the complaint.” Id. at 1107.
18         Alternatively, “a plaintiff may choose not to allege a unified course of
19   fraudulent conduct in support of a claim, but rather to allege some fraudulent and
20   some non-fraudulent conduct.” Id. at 1104. In such cases, “only allegations . . . of
21   fraudulent conduct must satisfy . . . Rule 9(b).” Id. at 1105. The court shall then
22   “strip” the noncompliant allegations from the complaint, and “examine the
23   allegations that remain to determine whether they state a claim.” Id.
24         While detailed evidentiary pleadings are not required, the Ninth Circuit has
25   held that “[m]erely making conclusory allegations of fraud, and then reciting a list
26   of neutral facts, is not sufficient” to satisfy the requirements of Rule 9(b). Stack v.
27   Lobo, 903 F.Supp. 1361, 1367 (N.D. Cal. 1995) (citing Smegen v. Weidner, 780
28   F.2d 727, 731 (9th Cir. 1985)).
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 1                                         ARGUMENT
 2   I.   PLAINTIFFS’ CLAIMS ARE NOT JUSTICIABLE
 3        A.    Plaintiffs Lack Article III Standing for All of Their Claims
 4        Article III of the United States Constitution confines the jurisdiction of federal
 5   courts “to the resolution of cases and controversies.” Valley Forge Christian Coll.
 6   v. Ams. United for Separation of Church & State, 454 U.S. 464, 471 (1982)
 7   (internal quotation marks omitted). One of the “landmarks” used by courts to
 8   identify cases “that are of the justiciable sort referred to in Article III . . . is the
 9   doctrine of standing.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).
10   This “irreducible constitutional minimum of standing” requires that a plaintiff
11   demonstrate three elements: (1) an “injury in fact” that is “concrete and
12   particularized” and “actual or imminent”; (2) “a causal connection between the
13   injury” and the defendant’s conduct; and (3) a likelihood “that the injury will be
14   redressed by a favorable decision.” Id. at 560–61 (quotation marks omitted).
15        Relevant to State Defendants, Plaintiffs here ask the Court for: (1) immediate
16   orders directing Defendants to preserve certain election equipment and materials;
17   (2) the appointment of one or more special masters to oversee evidence
18   preservation, an audit of the November 2020 election results, and vote counting in
19   future elections; and (3) a declaration that Assembly Bills 60, 306, 860, 1461, and
20   1921, Senate Bills 29, 397, 450, 503, and 523, Executive Orders N-64-20 and N-
21   67-20, California Elections Code section 3020, and California Code of Regulations,
22   title 2, sections 20910, 20960–20962, 20980–20985, and 20990–20993 are
23   unconstitutional. FAC at 50, ¶¶ A–E. On these claims, none of the Plaintiffs
24   satisfy all three requirements needed to establish Article III standing.
25              1.    Plaintiffs’ Alleged Injuries Are Wholly Speculative and
                      Impermissibly Generalized
26
27        First, Plaintiffs have failed to sufficiently allege any injury cognizable under
28   Article III.

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 1        Plaintiffs do not allege that they or their supporters were prohibited from
 2   voting, were denied the ability to vote in the manner in which they chose, or that
 3   their votes were not counted. Rather, Plaintiffs appear to put forth three theories of
 4   their “injury in fact.” In their equal protection and due process claims, Plaintiffs
 5   advance an unusual and unsupported theory of vote dilution, by which the value of
 6   their votes (and their supporters’ votes) was diminished by Defendants’ actions
 7   “intentionally failing to ensure that only legally cast VBM ballots were included in
 8   the canvass for the 2020 general election in California.” FAC at ¶¶ 174–75, 188–
 9   90. In their equal protection claim, Plaintiffs allege differential treatment between
10   voters in different counties, as well as between VBM and in-person voters. FAC at
11   ¶¶ 176–78. And in their Elections Clause and Guarantee Clause claims, Plaintiffs
12   raise allegations of generalized grievances relating to government conduct allegedly
13   in violation of federal law. See FAC at ¶¶ 167–68, 196–98. These injuries are
14   insufficient to meet the requirements for Article III standing because they are both
15   wholly speculative and impermissibly generalized. See, e.g., Schmier v. U.S. Ct. of
16   Appeals for Ninth Cir., 279 F.3d 817, 821 (9th Cir. 2002).
17        Recent decisions from neighboring districts illustrate the flaws in Plaintiffs’
18   theory of injury. Prior to the November 2020 election, one presidential campaign
19   challenged a Nevada law that mandated ballots be mailed to all registered voters,
20   similar to the laws challenged here by Plaintiffs. Granting defendant’s motion to
21   dismiss, the court held that “[e]ven if accepted as true, plaintiffs’ pleadings allude
22   to vote dilution that is impermissibly generalized.” Donald J. Trump for President,
23   Inc. v. Cegavske, No. 2:20-cv-1445-JCM-VCF, 2020 WL 5626974, at *4 (D. Nev.
24   Sept. 18, 2020). The court highlighted plaintiffs’ failure to “describe how their
25   member voters will be harmed by vote dilution where other voters will not,” and
26   agreed with an earlier district court decision that “plaintiffs’ claims of a substantial
27   risk of vote dilution ‘amount to general grievances that cannot support a finding of
28   particularized injury as to [p]laintiffs.’” Id. (quoting Paher v. Cegavske, No. 3:20-
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 1   cv-00243-MMD-WGC, 2020 WL 2748301, at *4 (D. Nev. May 27, 2020). A
 2   similar argument was also rejected in a post-election challenge in Arizona, where
 3   the court noted not only the speculative and generalized nature of the alleged injury,
 4   but also the plaintiffs’ failure to advance a viable theory of vote dilution. See
 5   Bowyer v. Ducey, No. CV-20-02321-PHX-DJH, 2020 WL 7238261, at *5 (D. Ariz.
 6   Dec. 9, 2020) (“As courts have routinely explained, vote dilution is a very specific
 7   claim that involves votes being weighed differently and cannot be used generally to
 8   allege voter fraud.”); see also id. at *6 (collecting cases).
 9        Here, Plaintiffs’ claims of vote dilution are based wholly on speculation that
10   fraudulent ballots may have been counted. See, e.g., FAC at ¶ 13 (“These election
11   workers could have entered any candidates that they wished on these remade ballots
12   while purposefully unobserved like this.”) (emphasis added). There are no specific
13   allegations regarding the number of fraudulent ballots, whether those ballots were
14   in fact counted for or against Plaintiffs, or where exactly those ballots were cast.
15   Any hypothetical injuries inflicted on Plaintiffs as a result of this purported vote
16   dilution “are nothing more than generalized grievances that any one of the [17.5
17   million Californians] who voted could make if they were so allowed.” Id. at *5; cf.
18   Juliana v. United States, 947 F.3d 1159, 1174 (9th Cir. 2020) (“[A]ny injury from
19   the dissolution of the Republic would be felt by all citizens equally, and thus would
20   not constitute the kind of discrete and particularized injury necessary for Article III
21   standing.”) (citing Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
22   528 U.S. 167, 180–81 (2000)).2
23         2
              Plaintiffs’ status as former congressional candidates does not provide them
     any specialized basis for standing here. This action was commenced on January 4,
24   2021. At that time, California’s election results had already been certified, and the
     members of the 117th Congress had been sworn in. See State Defs’ RJN at 24–29,
25   Exs. 4–5. Thus, as of the commencement of this suit, those Plaintiffs had ceased to
     be candidates for the 2020 general election. See Drake v. Obama, 664 F.3d 774,
26   783–84 (9th Cir. 2011) (“Once the 2008 election was over and the President sworn
     in, Keyes, Drake, and Lightfoot were no longer ‘candidates’ for the 2008 general
27   election.”) And because they were no longer candidates, they did not have any
     basis to claim harm based on their failed congressional campaigns. Although
28   twelve of the Plaintiffs allege in the FAC that they are running in the 2022 election,
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 1        Indeed, on their differential treatment theory, Plaintiffs do not appear to even
 2   allege any injury—let alone an injury that they themselves suffered. The argument
 3   is largely inscrutable, but appears to be that because “VBM voters” could allegedly
 4   drop their ballots in mail boxes3 up to four hours later than the polls were open,
 5   those who chose to vote in person were “disproportionately burden[ed].” See FAC
 6   at ¶¶ 154–57, 177. Plaintiffs also assert that the application of “disparate rules in
 7   different counties” somehow resulted in “the votes of some California citizens . . .
 8   [being] treated differently from those of others.” FAC at ¶ 176. But Plaintiffs do
 9   not explain how these challenged practices have caused them any particularized
10   injury. Again, they make no allegations that their ballots were not counted while
11   others’ were. They make no allegations that they were unable to vote in the manner
12   in which they preferred. They make no allegations that their ballots were in fact
13   counted or weighed differently from county to county. There is absolutely no
14   injury alleged here, let alone any actual, concrete, particularized injury that
15   Plaintiffs themselves suffered—as required for Article III standing.
16        Moreover, to the extent that Plaintiffs allege generalized injuries relating to
17   Defendants’ alleged violations of the law, such injuries are insufficient for standing.
18   “The only injury plaintiffs allege is that the law—specifically the Elections
19   Clause—has not been followed. This injury is precisely the kind of
20   undifferentiated, generalized grievance about the conduct of government that we
21   have refused to countenance in the past.” Lance v. Coffman, 549 U.S. 437, 442
22   (2007); see also Bowyer, 2020 WL 7238261, at *4 (rejecting plaintiffs’ Elections
23   the candidate filing period for that election has not yet opened, and any claim of
     specialized  basis for standing is accordingly not ripe at this time.
24          3
              Plaintiffs filed a Notice of Errata replacing “drop boxes” with “mail boxes”
     in paragraph 155; the Notice of Errata erroneously attributes this error to paragraph
25   153. See ECF No. 81. It is unclear whether Plaintiffs also intended to write “mail
     boxes” in paragraph 156, alleging that “because the drop boxes were unmonitored,
26   nothing prevented VBM voters from voting the day after election day by dropping
     ballots in such boxes.” FAC at ¶ 156. As it stands, the allegations in paragraph 156
27   are patently false. See 2 CCR 20136 (“Upon the closing of the polls on Election
     Day, all drop boxes shall be locked and covered or otherwise made unavailable at
28   8:00 p.m. to ensure that no ballots are dropped off after the polls have closed.”) All
     of this contributes to the inscrutability of this portion of the FAC.
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 1   Clause claim on standing grounds). Accordingly, Plaintiffs’ failure to allege any
 2   concrete injuries in this matter are fatal to their claims against State Defendants,
 3   and on their own provide sufficient grounds for dismissal.
 4             2.    Plaintiffs’ Claims Do Not Satisfy the Causation and
                     Redressability Prongs of the Standing Inquiry
 5
 6        Even if Plaintiffs had alleged an injury sufficient to establish standing—and
 7   they have not—their claims do not pass muster as to the other two prongs of
 8   standing. Plaintiffs have failed to show how their alleged injuries are
 9   fairly traceable to State Defendants’ conduct, and their requested relief would do
10   absolutely nothing to actually redress any injuries Plaintiffs have alleged. See, e.g.,
11   Lujan, 504 U.S., 560–61.
12        Turning first to causation, Plaintiffs present no theory showing how former
13   Attorney General Becerra caused either a diminution in the value of Plaintiffs’
14   votes, or the differential treatment alleged under their equal protection claim. In
15   regard to Governor Newsom, Plaintiffs rely on the fact that he issued Executive
16   Orders N-64-20 and N-67-20 to mandate that all registered voters be mailed a VBM
17   ballot (ignoring the fact that these executive orders were later superseded by
18   legislation enacting the same requirement). See FAC at ¶ 76; State Defs.’ RJN at
19   1–3, Ex. 1. And for former Secretary Padilla, Plaintiffs allege that the emergency
20   regulations adopted on September 28, 2020 allowed for fraud that allegedly diluted
21   Plaintiffs’ votes and contributed to the differential treatment between VBM and in-
22   person voters. See FAC at ¶¶ 78–94.
23        The crux of Plaintiffs’ argument against State Defendants is that the expansion
24   of vote-by-mail preceding the 2020 general election created the conditions for
25   widespread voter fraud, and that State Defendants’ actions were simply the latest in
26   a decades-long scheme to intentionally allow voter fraud at a massive scale. See
27   FAC at ¶¶ 58, 76; see also infra, II. By Plaintiffs’ own admission, even prior to the
28   emergency orders, “approximately 75% of voters in California regularly received
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 1   permanent VBM ballots . . . .” FAC at ¶ 62. And none of the State Defendants
 2   carried out the election activities where Plaintiffs allege much of this fraud occurred
 3   (e.g., signature verification, vote tabulation)—those are the tasks of local officials,
 4   and are also the focus of Plaintiffs’ most concrete allegations. There are no
 5   allegations, for example, that the State Defendants somehow manipulated vote
 6   tallies, submitted fraudulent votes, or allowed drop boxes to be compromised at any
 7   point of the voting period. The Secretary of State’s emergency regulations were
 8   issued explicitly to “provide clear and uniform guidance” to counties regarding
 9   election administration, and to “ensure uniform practices” in relevant respects
10   across the state. State Defs.’ RJN at 5, Ex. 2. Such uniformity in fact helps ensure
11   that no votes are “diluted,” and that every valid vote is counted accurately and
12   equally, regardless of what county in which a voter resides or what voting method
13   they use. Perhaps realizing this absence of any discrete allegations of fraud on the
14   part of State Defendants, Plaintiffs have instead chosen to advance their theory of a
15   massive, long-running scheme to compromise the election results (discussed at
16   greater length infra, II).
17        Plaintiffs thus go to great lengths to raise this specter of a state-supported
18   fraud operation because without such allegations, many of their claims would also
19   fail the redressability requirement. In their prayer for relief, Plaintiffs request
20   orders mandating the preservation of certain election equipment and materials, as
21   well as the appointment of special masters to oversee an audit of the 2020 election
22   results and the accuracy of vote counting in future California elections. FAC at 50,
23   ¶¶ A–D. The only way that these requests could redress any of Plaintiffs’ alleged
24   injuries is if Plaintiffs are accurate in alleging the existence of a massive and
25   ongoing fraud scheme. Absent such a scheme, the relief that Plaintiffs request
26   would do nothing to change the results of the election, rectify Plaintiffs’ alleged
27   vote dilution, or correct for the disparities between vote methods. But if Plaintiffs
28
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 1   are indeed alleging such an operation, then the FAC fails under Rule 9(b). See
 2   infra, II.
 3         Finally, Plaintiffs request declaratory relief finding numerous election
 4   provisions to be unconstitutional. FAC at 50, ¶ E. Plaintiffs do not explain how
 5   such declaratory relief would redress their alleged injuries—and to the extent
 6   Plaintiffs’ alleged injuries turn on supposed “irregularities” in the local
 7   administration of an election that has already occurred, it clearly would not.
 8   Likewise, Plaintiffs’ challenges to AB 860 (which applied only to the November
 9   2020 election) and Executive Orders N-64-20 and N-67-20 (which, upon the
10   enactment of AB 860, had no further force or effect) cannot possibly provide
11   redress for any alleged injury they might suffer in the future. And Plaintiffs do not
12   and cannot explain how any remaining challenges to California’s election laws (for
13   example, Elections Code section 3020)4 would redress any alleged injury, either.5
14         Failing to meet any of the three prongs for Article III standing is fatal to a
15   plaintiff’s claim. Here, Plaintiffs have failed to meet even one. On this basis alone,
16   the entirety of Plaintiffs’ claims against State Defendants should be dismissed.
17         B.     Several of Plaintiffs’ Claims Would Be Moot
18         Additionally, even if Plaintiffs’ claims had once been otherwise justiciable,
19   several of those claims would have since been rendered moot.
20         “The inability of the federal judiciary to review moot cases derives from the
21   requirement of Art. III of the Constitution under which the exercise of judicial
22   power depends upon the existence of a case or controversy.” Preiser v. Newkirk,
23   422 U.S. 395, 401 (1975). A controversy must be “definite and concrete” and
24          4
              See FAC at 50, ¶ E (seeming to challenge Elections Code section 3020);
     but see FAC at ¶¶ 93–94 (seeming to challenge only those aspects of Elections
25   Code section  3020 that applied specifically to the November 2020 election).
           5
              Additionally, Plaintiffs’ challenge to numerous elections statutes duly
26   enacted by the California Legislature stands in deep (and seemingly irreconcilable)
     tension with any theory of injury they might seek to advance under the
27   Constitution’s Elections Clause, which stands for the Legislature’s power to enact
     laws concerning elections procedures. See FAC at ¶¶ 164–71; cf. Bognet v. Sec’y of
28   Commonwealth of Pa., 980 F.3d 336, 350–52 (3d Cir. 2020), petn. for cert
     docketed, No. 20-740 (Nov. 27, 2020).
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 1   “touch[] the legal relations of the parties having adverse legal interests.” DeFunis
 2   v. Odegaard, 416 U.S. 312, 317 (1974). Federal courts lack the power to “decide
 3   questions that cannot affect the rights of litigants in the case before them.” Preiser,
 4   422 U.S. at 401 (internal quotation marks omitted).
 5        In the FAC, Plaintiffs no longer seek decertification of the November 2020
 6   election results. Even if they did, such relief would not be a viable remedy. See
 7   Cal. Elec. Code §§ 16003, 16400, 16401 (setting procedure for contesting election
 8   results). Plaintiffs do, however, seek preservation orders and an audit, as well as
 9   the appointment of one or more special masters to oversee these efforts. FAC at 50,
10   ¶¶ A–C. It is unclear to what end Plaintiffs seek this backward-looking relief—but
11   given that decertification is not an option, it would be meaningless to grant these
12   requests. Similar requests have been made in other states, and dismissed as moot.
13   E.g., Bowyer, 2020 WL 7238261, at *12 (“Because this Court cannot de-certify the
14   results, it would be meaningless to grant Plaintiffs any of the remaining relief they
15   seek.”); King v. Whitmer, No. 20-13134, 2020 WL 7134198, at *5 n.3 (“[T]he
16   evidence Plaintiffs seek to gather by inspecting voting machines and software
17   security camera footage only would be useful if an avenue remained open for them
18   to challenge the election results.”), appeal filed, No. 20-2205 (6th Cir. Dec. 10,
19   2020).
20         Plaintiffs’ request for protective orders should further be dismissed as moot
21   because they do not represent any genuine controversy. There is no valid reason or
22   need to order State Defendants not to destroy supposed evidence, primarily because
23   there is absolutely no indication that spoliation of evidence has occurred or is being
24   contemplated or planned. California Elections Code sections 17300 to 17306
25   already require that certain election materials be preserved for twenty-two months
26   following an election. And to the extent that Plaintiffs’ request includes materials
27   or equipment not already covered under the Elections Code, State Defendants are
28   on notice and therefore under a federally-imposed “duty to preserve evidence [they]
                                              12
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 1   know[] or should know is relevant to imminent litigation.” A. Farber & Partners,
 2   Inc. v. Garber, 234 F.R.D. 186, 193 (C.D. Cal. 2006). This Court has already
 3   addressed this issue in its order denying Plaintiffs’ request for TRO, see ECF No.
 4   35 at 4, and nothing has changed since then.
 5        Plaintiffs’ requests for declaratory relief seeking invalidation of Executive
 6   Orders N-64-20 and N-67-20, AB 860, and California Elections Code section 3020
 7   should likewise be dismissed because they do not present an ongoing case or
 8   controversy. Again, the executive orders concerned only the November 2020
 9   general election and ceased to have any force or effect long before this action was
10   commenced.6 Similarly, the amendments enacted through AB 860, primarily
11   mandating the State to send VBM ballots to every registered California voter,
12   related only to the November 2020 general election. State Defs.’ RJN at 20–23, Ex.
13   3. And while Plaintiffs ostensibly request that the entirety of Elections Code
14   section 3020 be declared unconstitutional, they only take issue with the most recent
15   amendments providing that VBM ballots received within seventeen days of the
16   2020 general election be considered timely. See FAC at ¶¶ 93–94; Cal. Elec. Code
17   § 3020(d). These claims are moot because they relate only to the election that has
18   already passed and been certified. Cf. Wood v. Raffensperger, 981 F.3d 1307, 1317
19   (11th Cir. 2020) (“We cannot turn back the clock and create a world in which the
20   2020 election results are not certified.”) (internal quotation marks and citation
21   omitted).
22        C.     Plaintiffs’ Guarantee Clause Claim Is Nonjusticiable
23        The Guarantee Clause of the United States Constitution states that “[t]he
24   United States shall guarantee to every State in this Union a Republican Form of
25   Government, and shall protect each of them against Invasion . . . .” U.S. Const.,
26   art. IV, § 4. Plaintiffs allege that Defendants have violated the Guarantee Clause
27         6
              For this reason, and because standing is assessed at the time the relevant
     complaint is filed, it may (strictly speaking) be most correct to dismiss the
28   challenges to those orders for want of Article III standing, while dismissing
     Plaintiffs’ remaining challenges as moot.
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 1   “by implementing laws, regulations and orders, and conducting elections, so as to
 2   deny California and its citizens, including Plaintiffs, a republican form of
 3   government,” and “so as to allow foreign interference in California elections.”
 4   FAC at ¶¶ 196–97. But it is well-established, and as recently as 2019 the Supreme
 5   Court reitierated, “that the Guarantee Clause does not provide the basis for a
 6   justiciable claim.” Rucho v. Common Cause, 139 S. Ct. 2484, 2506 (2019); see
 7   Murtishaw v. Woodford, 255 F.3d 926, 961 (9th Cir. 2001) (“A challenge based on
 8   the Guarantee Clause, however, is a nonjusticiable political question.”)
 9   Accordingly, Plaintiffs’ fourth cause of action, based wholly on alleged violations
10   of the Guarantee Clause, should be dismissed.
11   II.   PLAINTIFFS FAIL TO SATISFY THE PLEADING REQUIREMENTS OF RULE
           9(B)
12
13         Although fraud is not a necessary element of any of Plaintiffs’ claims, the
14   bedrock upon which the entirety of the FAC rests is the alleged scheme of
15   widespread, ongoing, and intentional fraud on the part of State Defendants.
16   Plaintiffs make this explicit from the jump. See, e.g., FAC at ¶ 3. And they
17   proceed to lean on this allegation of a “unified course of fraudulent conduct”
18   throughout. Plaintiffs repeatedly refer to former Secretary Padilla’s emergency
19   regulations facetiously (placing “emergency” in quotation marks), and call the
20   rationale for such regulations—to protect citizens’ right to vote in amidst the
21   COVID-19 pandemic—mere “pretext.” FAC at ¶¶ 7, 8, 79. They allege that voting
22   rights legislation over the past three decades are in fact part of a “systematic attack”
23   intentionally designed to enable voting fraud to “proceed unchecked.” FAC at ¶ 58.
24   They falsely state that some defendants, including State Defendants, intend to
25   destroy evidence. FAC at ¶ 18. And they accuse Governor Newsom and former
26   Secretary Padilla of spearheading “efforts to unlawfully compromise California
27   elections . . . .” FAC at ¶ 76. Accompanying these conclusory allegations of fraud
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 1   are recitals of various neutral laws, all of which have expanded and protected
 2   voting access for all eligible California voters. See FAC at ¶¶ 58–94. Such a
 3   complaint does not satisfy Rule 9(b). See Stack, 903 F.Supp., at 1367 (“Merely
 4   making conclusory allegations of fraud, and then reciting a list of neutral facts, is
 5   not sufficient” to satisfy the requirements of Rule 9(b).) (citation omitted).
 6        Moreover, Plaintiffs explicitly rely on these conclusory allegations of fraud in
 7   support of both their equal protection and due process claims, asserting that State
 8   Defendants “intentionally fail[ed] to ensure that only legally cast VBM ballots were
 9   included in the canvass for the 2020 [election].” FAC at ¶¶ 175, 190. Plaintiffs
10   also implicitly rely on their fraud allegations to support their two other claims,
11   alleging that State Defendants have proceeded with their fraudulent scheme in order
12   to “usurp[]” the Legislature’s authority, and have in turn have implemented these
13   laws “so as to deny California and its citizens . . . a republican form of government”
14   and “protection against invasion.” FAC at ¶¶ 167, 196–97. Due to the shotgun
15   nature of Plaintiffs’ pleadings, it is difficult to identify with specificity exactly
16   which allegations of fraud are intended to be paired with each of the causes of
17   action—in violation of Rule 9(b). See Teamsters Local 617 Pension and Welfare
18   Funds v. Apollo Group, Inc., 633 F.Supp.2d at 763, 783 (D. Ariz. 2009), vacated in
19   part on other grounds, 690 F.Supp.2d 959 (D. Ariz. 2010).
20        The breadth and severity of this alleged scheme of fraud is hard to overstate.
21   As alleged by Plaintiffs, “[t]his situation is intolerable in light of evidence of vote
22   irregularities that are widespread enough that they could have changed the outcome
23   of the November 2020 election for the candidate Plaintiffs . . . .” FAC at ¶ 160
24   (emphasis added); see also FAC at ¶ 11 (“The potential for result-changing
25   irregularities became actuality in November 2020.”) (emphasis added).
26   Conspicuously, Plaintiffs never make reference to their congressional election
27   results. But unequivocally, they were not of the sort alluded to by Plaintiffs—those
28   “contests decided by margins of very few votes,” wherein State Defendants’ actions
                                               15
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 1   “create[d] an open invitation to submit illegal ballots after election day to overturn
 2   reported election results.” FAC at ¶ 94. Far from it.
 3        In the head-to-head general election, Plaintiffs received vote shares that ranged
 4   from 23.2% to 46.5%. State Defs.’ RJN at 40–41, 58–69, Ex. 6. Their margins of
 5   defeat ranged from 28,747 votes in Plaintiff Raths’ loss to Representative Katie
 6   Porter, to 165,238 votes in Plaintiff Gorman’s loss to Representative Jimmy
 7   Panetta. Id. at 40–41, 62, 67. The total vote margin across all thirteen races was
 8   1,362,307. Id. at 40–41, 58–69. Even assuming the most favorable conditions for
 9   Plaintiffs—that every fraudulent vote took the form of a changed ballot that had
10   initially been cast for the Plaintiff—more than 680,000 fraudulent votes would have
11   to have been counted in order for the election outcome to have been changed for all
12   Plaintiffs. This is what Plaintiffs’ allegations amount to.
13        For such massive election fraud to go unchecked, myriad election officials,
14   their staff and volunteers, and government leaders would need to be active, willing
15   participants. And indeed, that is what Plaintiffs allege, albeit less directly. But
16   obscuring the true nature of their allegations does not change the reality that
17   Plaintiffs’ claims are grounded in fraud, and that their allegations are not pleaded
18   with sufficient particularity to provide State Defendants with the notice required by
19   satisfy Rule 9(b).7
20        Having “allege[d] a unified course of fraudulent conduct” on the part of State
21   Defendants and relied upon that course of conduct to support each of their causes of
22
           7
              It is precisely this alleged scheme that Plaintiffs turn to for support in their
23   request for the appointment of special masters. Federal Rule of Civil Procedure
     53(a) governs the circumstances for appointment of a master. State Defendants do
24   not consent to Plaintiffs’ request. See Fed. R. Civ. P. 53(a)(1)(A). Therefore,
     Plaintiffs must establish “some exceptional condition” to justify such an
25   appointment. Fed. R. Civ. P. 53(a)(1)(B)(i). Plaintiffs attempt to do so by alleging
     the existence of fraud sufficient to have changed the 2020 election results. FAC at
26   ¶ 160. But as demonstrated above, for this allegation to even be remotely plausible,
     upwards of at least 680,000 votes—nearly 4% of all votes counted in the 2020
27   election—would need to be fraudulent. If this is Plaintiffs’ allegation, the FAC
     fails on Rule 9(b). And if it is not, then Plaintiffs have failed to allege any
28   “exceptional condition” to justify the appointment of special masters.
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 1   action, Plaintiffs’ FAC is grounded in fraud. See Vess, 317 F.3d at 1103. Despite
 2   this, they have failed to plead these allegations with sufficient particularity. See
 3   Fed. R. Civ. P. 9(b); Stack, 903 F.Supp., at 1367. Accordingly, the FAC should be
 4   dismissed in its entirety. See Vess, 317 F.3d at 1107; Bowyer, 2020 WL 7238261,
 5   at *13. And even if Plaintiffs have only “allege[d] some fraudulent and some non-
 6   fraudulent conduct,” the noncompliant allegations must be stripped from the FAC.8
 7   Id. At 1105.
 8   III. PLAINTIFFS OTHERWISE FAIL TO STATE A CLAIM
 9        As just explained, Plaintiffs’ claims fail because they are subject to the
10   pleading requirements of Rule 9(b), and fail to satisfy the pleading requirements of
11   that Rule. But even if Plaintiffs’ claims were not subject to Rule 9(b), they would
12   (for the reasons given below) still fail to state a claim.
13        A.    Elections Clause Claim
14        The Elections Clause of the United States Constitution states that “[t]he
15   Times, Places, and Manner of holding Elections for Senators and Representatives,
16   shall be prescribed in each State by the Legislature thereof.” U.S. Const., Art. I,
17   § 4, cl. 1. In their first cause of action, Plaintiffs allege that “Defendants have
18   violated the Elections Clause by usurping the California State Legislature’s
19   authority to set the manner of elections.” FAC at ¶ 167. In so stating, Plaintiffs
20   appear to be referring to only two of the challenged actions—Defendant Newsom’s
21   issuance of Executive Orders N-64-20 and N-67-20, and the Secretary of State’s
22   issuance of the emergency regulations regarding signature verification, ballot
23   processing, and ballot counting.9 Even assuming that Plaintiffs have alleged a
24   sufficiently particularized injury under the Elections Clause, which they have not,
25         8
             If possible—although it may be difficult given Plaintiffs’ shotgun pleading.
     See Teamsters   Local 617, 633 F.Supp.2d at 783.
26         9
              A contradiction here is worth noting. Plaintiffs simultaneously assert that
     Defendants Newsom and Weber have “usurped” the Legislature’s Elections Clause
27   authority by issuing orders and regulations related to the election, and ask this
     Court to declare duly enacted elections legislation (AB 60, 306, 860, 1461, and
28   1921; SB 29, 397, 450, 503, and 523; and California Elections Code § 3020) to be
     unconstitutional.
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 1   this claim fails. Nothing in these orders or emergency regulations impermissibly
 2   interferes with the time, places, and manner of conducting the election.
 3        As an initial matter, Plaintiffs do not dispute that both the Governor’s
 4   executive orders and the Secretary of State’s emergency regulations were issued in
 5   adherence with the state statutory authority provided by the Legislature. Governor
 6   Newsom’s orders were issued under the broad authority granted by the California
 7   Emergency Services Act, see Cal. Gov’t Code § 8550 et seq., and in particular
 8   Government Code sections 8567, 8571, and 8627. During times of a state
 9   emergency—such as the COVID-19 pandemic—the Governor has explicit authority
10   to “make, amend, and rescind orders and regulations necessary to carry out the
11   provisions of this chapter.” Cal. Gov’t Code § 8567(a); see also id. § 8627. He
12   also has authority to suspend regulatory statutes and statutes relating to state
13   business. Id. § 8571. Even so, the orders that Defendant Newsom issued
14   mandating the mailing of a VBM ballot to all registered California voters were
15   subsequently enacted into law by the Legislature through SB 860.
16        The emergency regulations were issued pursuant to three state sources of
17   authority and one federal source. California Government Code section 12172.5,
18   which outlines the duties of the Secretary of State, explicitly authorizes the
19   Secretary to “adopt regulations to assure the uniform application and administration
20   of state election laws.” Cal. Gov’t Code § 12172.5(d). California Elections Code
21   sections 3026 and 14314 state that “[t]he Secretary of State shall promulgate
22   regulations establishing guidelines for county elections officials relating to the
23   processing” of both VBM ballots and provisional ballots. Cal. Elec. Code §§ 3026,
24   14314. And finally, federal law mandates that “[e]ach State shall adopt uniform
25   and nondiscriminatory standards that define what constitutes a vote and what will
26   be counted as a vote for each category of voting system used by the State.” 52
27   U.S.C. § 21081(a)(6). The Secretary of State included clear references to the
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 1   relevant sources of authority for each of the emergency regulations. See State
 2   Defs.’ RJN at 4–19, Ex. 2
 3        This state-law legislative authority is fatal to Plaintiffs’ Elections Clause
 4   claim. “The dominant purpose of the Elections Clause was to empower Congress
 5   to override state election rules, not to restrict the way States enact legislation.”
 6   Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2672
 7   (2015). In this context, as elsewhere, “it is characteristic of our federal system that
 8   States retain autonomy to establish their own governmental processes.” Id. at 2673.
 9   Accordingly, for purposes of the Elections Clause (or the analogous Electors
10   Clause), the term “Legislature” does “not mean the representative body alone,” but
11   rather refers to “the exercise of lawmaking authority,” so long as it is “performed in
12   accordance with the State’s prescriptions for lawmaking.” Id. at 2666, 2668 & n17.
13   This requirement was satisfied here.
14        Nor (contrary to Plaintiffs’ position) is there any other inconsistency between
15   the State Defendants’ actions and state election law. Plaintiffs allege that some of
16   the emergency regulations “directly contradict a number of state statutes intended to
17   ensure that VBM ballots are legally cast.” FAC at ¶ 80. In evaluating a motion to
18   dismiss under Rule 12(b)(6), the Court need not accept the truth of legal assertions
19   cast as factual allegations, see e.g., Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir.
20   2011), and should not do so here. Plaintiffs’ “factual” allegations on this topic are
21   better viewed as (inaccurate) legal assertions—in essence, legal arguments that the
22   Secretary of State violated state election laws and, in doing so, ran afoul of the
23   Elections Clause. For instance, Plaintiffs allege that California Code of
24   Regulations, title 2, section 20991(b)(9) “allows the voter to submit virtually any
25   piece of paper as a VBM ballot,” and that this regulation “contravene[s] [California
26   Elections Code] § 13200, which provides that ballots not printed according to
27   statutory specifications cannot be cast or counted and [California Elections Code] §
28   13002, which requires watermarking of printed ballots.” FAC at ¶ 90. Aside from
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 1   the fact that Plaintiffs’ do not actually allege that any voter did, in fact, vote in such
 2   a manner, the cited sections specifically regulate the printing and purchasing of
 3   ballots; they are not intended to address situations of nonconforming ballots. And
 4   Plaintiffs fail to mention the portion of the regulation that states that “[i]f the
 5   voter’s choice(s) can be determined, the ballot shall be duplicated pursuant to
 6   Election Code section 15210 to reflect the voter’s choices and processed as if cast
 7   by the voter.” Cal. Code Regs., tit. 2, § 20991(b)(9). California Elections Code
 8   section 15210 requires that “any ballot that is torn, bent, or otherwise defective
 9   shall be corrected so that every vote cast by the voter shall be counted by the
10   automatic tabulating equipment,” including through the creation of a “true duplicate
11   copy.” Cal. Elec. Code § 15210. The emergency regulation is therefore consistent
12   with state law.
13        As another example, Plaintiffs allude to the “strict procedures to be followed
14   for alternative ballots when a polling place exhausts its supply of ballots,” alleging
15   that the “required use of official ballots is further reinforced by [California
16   Elections Code] § 14299.” FAC at ¶ 90. What the Elections Code actually states is
17   that in such situations, voters may cast “his or her vote immediately using an
18   alternative procedure established prior to the election.” Cal. Elec. Code § 14299(b).
19   The statute does not state any guidelines for the “alternative procedure,” besides
20   mandating that it be approved by the Secretary of State. Id. § 14299(c).
21        Plaintiffs have failed to allege a cognizable Elections Clause claim sufficient
22   to survive a Rule 12(b)(6) motion. Both the Governor and the Secretary of State
23   possess statutory authority to issue the orders and regulations that Plaintiffs
24   challenge. Moreover, the “contradictions” that Plaintiffs allege between state
25   election law and the emergency regulations simply are not, in fact, contradictions.
26   Aside from the alleged fraud scheme already discussed above, Plaintiffs present no
27   other basis for finding that State Defendants have “usurped” the Legislature’s
28   authority under the Elections Clause, and the claim should be dismissed.
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 1        B.   Equal Protection and Due Process Claims
 2        On both their equal protection and due process claims, Plaintiffs allege
 3   constitutional violations based on their vote dilution theory. FAC at ¶¶ 174–75,
 4   189–90. Yet despite voluminous case law analyzing the Fourteenth Amendment,
 5   Plaintiffs do not cite to a single case that endorses their approach—nor could they,
 6   because it does not exist. Plaintiffs also allege differential treatment of voters,
 7   based both upon their county of residence and chosen voting method. FAC at ¶¶
 8   176–78. This theory similarly fails to survive even the barest of legal scrutiny.
 9        As to their equal protection claim, Plaintiffs allege a diminution in value of
10   certain votes. FAC at ¶ 174. But the supposed cause of this “injury”—State
11   Defendants’ “[intentional failure] to ensure that only legally cast VBM ballots
12   were” counted in the election, see FAC at ¶ 175—does not involve any
13   classification or disparate treatment among voters. Rather, this alleged impact
14   affects every vote equally: no vote would have greater or lesser weight on the basis
15   of any discernable classification. Cf. Citizens for Fair Representation v. Padilla,
16   815 F. App’x. 120, 1234 (9th Cir. 2020) (rejecting standing in equal protection
17   claim raised on the basis of vote dilution). Plaintiffs’ “conceptualization of vote
18   dilution—state actors counting ballots in violation of state election law—is not a
19   concrete harm under the Equal Protection Clause of the Fourteenth Amendment.”
20   Bowyer, 2020 WL 7238261, at *5 (quoting Bognet, 980 F.3d at 355).
21        Plaintiffs further attempt to ground their equal protection claim on the
22   allegation that State Defendants “appl[ied] disparate rules in different counties,
23   causing the votes of some California citizens to be treated differently from those of
24   others.” FAC at ¶ 176. Yet Plaintiffs offer no support for this allegation, and they
25   in fact challenge the emergency regulations that were promulgated for the explicit
26   purpose of ensuring consistency in vote counting throughout the state. See State
27   Defs.’ RJN at 5, Ex. 2. Plaintiffs also allege differential treatment of voters based
28   upon their voting method, arguing that those who prefer to vote in person were

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 1   “disproportionately burden[ed]” because while polling places closed at 8 p.m. on
 2   Election Day, “mail boxes” were allegedly available until 11:59 p.m. and “drop
 3   boxes” were unmonitored, so that “nothing prevented VBM voters from voting the
 4   day after election day by dropping ballots in such boxes.” See FAC at ¶¶ 154–58,
 5   176–78; Notice of Errata, ECF No. 81. In fact, VBM ballots mailed through the
 6   postal service were required to be postmarked on or before Election Day, which
 7   would not happen were a voter to place the ballot in a mail box after postal office
 8   business hours. And the drop boxes were “locked and covered or otherwise made
 9   unavailable” at 8 p.m. on Election Day. See 2 CCR 20136.
10        Even assuming the truth of Plaintiffs’ allegations, such facts do not even
11   approach the level of an unconstitutional burden on voting. The Ninth Circuit
12   addressed a similar issue in 2018, in the context of a challenge to the Voter’s
13   Choice Act (“VCA”). Appellants in Short v. Brown sought a preliminary injunction
14   against enforcement of the new law, which established a county-by-county structure
15   that allowed voters in some counties to receive a VBM ballot automatically, while
16   requiring those in other counties to request a ballot. Affirming the district court’s
17   denial, the Ninth Circuit held that “[t]he VCA does not burden anyone’s right to
18   vote. Instead, it makes it easier for some voters to cast their ballots by mail . . . . To
19   the extent that having to register to receive a mailed ballot could be viewed as a
20   burden, it is an extremely small one, and certainly not one that demands serious
21   constitutional scrutiny.” Short v. Brown, 893 F.3d 671, 677 (9th Cir. 2018). The
22   court continued: “[A]ppellants . . . have not even alleged—let alone introduced
23   evidence to demonstrate—that the VCA will prevent anyone from voting. Nor have
24   the appellants cited any authority explaining how a law that makes it easier to vote
25   would violate the Constitution.” Id. at 677–78.
26        Here, as in Short, Plaintiffs make no allegations that the alleged differential
27   treatment prevented even one person from voting. Pursuant to some of the
28   legislation that Plaintiffs challenge as unconstitutional, every eligible, registered
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 1   voter in California received a VBM ballot for the November 2020 election. Every
 2   voter had the same choice of either voting by mail or voting in person. Treatment
 3   of voters in different counties was more consistent in 2020 than perhaps ever
 4   before—and was certainly more consistent than under the early VCA framework
 5   held to be constitutional in Short. Plaintiffs’ claim cannot survive any scrutiny.
 6        Turning to due process, Plaintiffs cite a wide array of cases in an attempt to
 7   marshal support for their theory. See FAC at ¶¶ 182–93. In the end, though, those
 8   citations provide little support for Plaintiffs’ claim. As a general matter, the right to
 9   vote is fundamental, and it is protected by the Fourteenth Amendment. But
10   Plaintiffs have not alleged that they were denied their right to vote, or that their
11   votes were not counted. Again, their claim rests entirely upon their unrecognized
12   theory of vote dilution, by which “fraudulent” votes were cast (with no allegations
13   regarding how many, in which counties, or whether they were for or against
14   Plaintiffs, for example), in turn diminishing the value of Plaintiffs’ votes. But “vote
15   dilution,” as traditionally conceptualized and recognized by the courts, “refers to
16   the idea that each vote must carry equal weight.” Rucho, 139 S. Ct. at 2501. And
17   even under Plaintiffs’ version of facts, each vote did carry equal weight.
18        Plaintiffs largely rely on quotations from two Supreme Court cases in an
19   attempt to support their theory. See FAC at ¶¶ 185–88. The first, Anderson v.
20   United States, was a criminal appeal involving defendants who had been convicted
21   under a federal statute for casting fictitious votes for federal, state, and local offices.
22   See 417 U.S. 211 (1974). The excerpts that Plaintiffs cite are dicta, and the Court
23   made no holding regarding the applicability of vote dilution as an injury sufficient
24   to establish a violation of due process. See id. at 226–27; FAC at ¶¶ 186–87. The
25   second is Reynolds v. Sims, a civil rights era case in which Chief Justice Warren
26   authored the opinion holding that Alabama’s proposed apportionment plans
27   violated the Equal Protection Clause. See 377 U.S. 533 (1964). Reynolds is
28   illustrative of exactly what Plaintiffs seem to be missing here—that “vote dilution,”
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 1   as understood in the context of the Fourteenth Amendment and civil rights, is when
 2   a “favored group has full voting strength,” and “[t]he groups not in favor have their
 3   votes discounted.” Id. at 555, n.29 (quoting South v. Peters, 339 U.S. 276, 279
 4   (1950) (Douglas, J., dissenting)). It offers no support for either Plaintiffs’ due
 5   process or equal protection claims against State Defendants.
 6        Lastly, the FAC is completely unclear regarding which cause(s) of action
 7   would support a declaratory judgment finding unconstitutional Assembly Bills 60,
 8   306, 1461, and 1921, and Senate Bills 29, 397, 450, 503, and 523. See FAC at 50, ¶
 9   E. We address them here on the belief that Plaintiffs are alleging that each of these
10   laws contribute to Plaintiffs’ vote dilution theories under their equal protection and
11   due process claims. Like the appellants in Short, Plaintiffs have not “cited any
12   authority explaining how a law that makes it easier to vote would violate the
13   Constitution.” Short, 893 F.3d at 677–78. Moreover, SB 503 has not even been
14   passed by the Legislature. Plaintiffs’ request for declaratory relief relating to these
15   statutes should be denied.
16        C.    Guarantee Clause Claim
17        As discussed above, see supra, I.C., it is well-established that claims raised
18   under the Guarantee Clause are nonjusticiable political questions. Accordingly,
19   Plaintiffs’ fourth cause of action also fails to state a cognizable claim upon which
20   relief may be granted, and should be dismissed.
21   IV. THE ELEVENTH AMENDMENT BARS PLAINTIFFS’ CLAIMS AGAINST
         GOVERNOR NEWSOM
22
23        Finally, even if Plaintiffs’ claims were otherwise cognizable, Eleventh
24   Amendment sovereign immunity would bar Plaintiffs’ claims against the Governor.
25        Eleventh Amendment sovereign immunity bars suits against state officials in
26   their official capacities. See, e.g., Holley v. Cal. Dep’t of Corr., 599 F.3d 1108,
27   1111 (9th Cir. 2010); see also Will v. Michigan State Dep’t Police, 491 U.S. 58, 71
28   (1989) (“a suit against a state official in his or her official capacity . . . . is no
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 1   different from a suit against the State itself”). No exception to sovereign immunity
 2   applies here. Plaintiffs do not (and could not) allege that Congress has abrogated
 3   the State’s immunity, or that the State has waived it. Nor does the Ex Parte Young
 4   exception to sovereign immunity apply here: that exception requires that “[t]he state
 5   official ‘must have some connection with the enforcement of the [challenged] act.’”
 6   Coal. to Defend Affirmative Action v. Brown, 674 F.3d 1128, 1134 (9th Cir. 2012)
 7   (quoting Ex Parte Young, 209 U.S. 123, 157 (1908)). “That connection ‘must be
 8   fairly direct; a generalized duty to enforce state law or general supervisory power
 9   over the persons responsible for enforcing the challenged provision will not subject
10   an official to suit.’” Ass’n des Eleveurs de Canards et d'Oies du Quebec v. Harris,
11   729 F.3d 937, 943 (9th Cir. 2013) (quoting Coal., 674 F.3d at 1134). But Plaintiffs
12   do not allege that Governor Newsom has any such direct connection to the
13   enforcement of the laws they challenge. The Governor “is entitled to Eleventh
14   Amendment immunity because his only connection to [the challenged state laws] is
15   his general duty to enforce California law,” which is insufficient to invoke Ex Parte
16   Young. Ass’n des Eleveurs, 729 F.3d at 943.
17        Accordingly, the claims against Governor Newsom should be dismissed.
18                                     CONCLUSION
19
          For the foregoing reasons, all claims against State Defendants should be
20
     dismissed with prejudice.
21
     Dated: April 5, 2021                         Respectfully submitted,
22
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